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    8                     UNITED STATES DISTRICT COURT
    9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   11   TRINITY INFO MEDIA, LLC,               Case No. 2:21-cv-01360-JWH-MRW
   12               Plaintiff,
                                               JUDGMENT
   13         v.
   14   COVALENT, INC.,
   15               Defendant.
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    1         In accordance with the Order on Motion to Dismiss for Failure to State a
    2   Claim entered concurrently herewith, and pursuant to Rule 58 of the Federal
    3   Rules of Civil Procedure, it is hereby ORDERED, ADJUDGED, and
    4   DECREED that judgment is entered as follows:
    5         1.     This Court has personal jurisdiction over the parties and has
    6   subject matter jurisdiction over the above-captioned action pursuant to 28
    7   U.S.C. §§ 1331 and 1338.
    8         2.     Judgment is entered in FAVOR of Defendant Covalent, Inc. and
    9   AGAINST Plaintiff Trinity Info Media, LLC. Plaintiff shall take nothing by
   10   way of its First Amended Complaint.
   11         3.     Count I (Patent Infringement of the ’321 Patent under 35 U.S.C.
   12   § 271) and Count II (Patent Infringement of the ’685 Patent under 35 U.S.C.
   13   § 271) in Plaintiff’s Amended Complaint are DISMISSED under Rule 12(b)(6)
   14   of the Federal Rules of Civil Procedure for failure to state a claim, without leave
   15   to amend. This action is DISMISSED with prejudice.
   16         4.     Other than potential post-judgment remedies (including those
   17   provided in Rule 54(d) of the Federal Rules of Civil Procedure), to the extent
   18   that any party requests any other form of relief, such request is DENIED.
   19         IT IS SO ORDERED.
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   21   Dated: November 23, 2021
                                               John W. Holcomb
   22                                          UNITED STATES DISTRICT JUDGE
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